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 8                           UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
                                               Case No.: 18-MJ-0439-WVG
12              Plaintiff,
          v.                                   ORDER
13
14   SHAWN LEE SEILER,
15              Defendants.
16
17
18       IT IS HEREBY ORDERED that the complaint be dismissed without prejudice as to
19 defendant Shawn Lee Seiler.
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   Dated: February 8, 2018
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